                                                                             DISTRICT OF OREGON
                                                                                  FILED
                                                                                 August 23, 2017
                                                                           Clerk, U.S. Bankruptcy Court



 Below is an Order of the Court.

 The hearing referenced below took place August 9, 2017 at 10:30 a.m. in Courtroom 1 of the United
 States Bankruptcy Court for the District of Oregon. A recording of the hearing is docketed as Doc.
 186."




                                                           _______________________________________
                                                                     PETER C. McKITTRICK
                                                                     U.S. Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF OREGON


In re:

PETER SZANTO,                                    Case No. 16-33185-pcm11

                  Debtor.
______________________________________

PETER SZANTO,                                    Adv. Proc. No. 16-03114-PCM

              Plaintiffs,                        ORDER REGARDING:

     v.                                             1) PLAINTIFF’S THIRD MOTION TO
                                                       COMPEL [Dkt No. 169];
EVYE SZANTO, VICTOR SZANTO,
NICOLE SZANTO, KIMBERLEY SZANTO,                    2) PLAINTIFF’S MOTION TO EXTEND
MARIETTE SZANTO, ANTHONY                               DISCOVERY BEYOND 7-31-17 [Dkt
SZANTO, AUSTIN BELL, JOHN BARLOW,                      No. 171];
and BARBARA SZANTO ALEXANDER,
                                                    3) DEFENDANTS’ MOTION FOR
              Defendants.                              LIMITED EXTENSION OF
                                                       DISCOVERY CUTOFF DEADLINE
                                                       [Dkt. No. 172]; AND

                                                    4) DEFENDANTS’ MOTION FOR
                                                       PROTECTIVE ORDER [Dkt. No. 173]

                                                                       Motschenbacher & Blattner, LLP
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                        Case 16-03114-pcm     Doc 208     Filed 08/23/17
        THIS MATTER came before the Court on Plaintiff’s Third Motion for Order Compelling

Compliance with Discovery and an Order Awarding Costs and Sanctions and Request to

Consider Entering Judgment Against Defendants [Dkt. No. 169] (hereinafter referred to as

“Plaintiff’s Third Motion to Compel”), on Plaintiff’s Notice of Motion and Motion to Extend

Discovery Beyond 7-31-17 [Dkt. #171] (hereinafter referred to as “Plaintiff’s Motion to Extend

Discovery Cutoff”), on Defendants’ Motion for Limited Extension of Discovery Cutoff Deadline

[Dkt #172] (hereinafter referred to “Defendants’ Motion to Extend Discovery Cutoff”), and on

Defendants’ Motion for Protective Order [Dkt. #173]. Plaintiff Peter Szanto (“Plaintiff”)

appeared in pro per, and Defendants Evye Szanto, Victor Szanto, Nicole Szanto, Kimberley

Szanto, Mariette Szanto, Anthony Szanto, Austin Bell, John Barlow and Barbara Szanto

Alexander (“Defendants”) appeared by and through their attorney Nicholas J. Henderson of

Motschenbacher & Blattner LLP.

        The Court having reviewed the pleadings, having heard the arguments of the parties, and

being otherwise duly advised in the premises as follows; now, therefore,

        IT IS HEREBY ORDERED as follows:

        1.       The Defendants’ Motion for Protective Order is GRANTED for the reasons stated

on the record;

        2.       The Plaintiff’s Motion to Extend Discovery Cutoff is DENIED for the reasons

stated on the record;

        3.       The Defendants’ Motion to Extend Discovery Cutoff is GRANTED. The

Discovery Completion Deadline shall be extended to September 11, 2017, for the limited

purpose of deposing Susan Szanto;

/////

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       4.     Regarding the Plaintiff’s Third Motion to Compel:

                a. On or before August 19, the Defendants shall produce documents in their

                    possession, custody or control that 1) substantiate attorney’s fees they

                    believe are damages caused by Plaintiff, and/or 2) substantiate emotional

                    damages they allege were caused by Plaintiff;

                b. On or before August 19, 2017, Defendants’ Counsel shall submit a

                    declaration stating that he has consulted with each Defendant regarding

                    documents required to be produced pursuant to Section 4.a. of this Order,

                    and that each Defendant asserts that he/she has produced all such documents

                    in their possession, custody or control;

                c. On or before August 19, 2017, Defendants shall submit an amended

                    response to Plaintiff’s Discovery Demand for Defendants to Produce and

                    Number Documents – Request 6, to identify the Bates-numbers of

                    documents previously produced to the Plaintiff; and

                d. The Plaintiff’s Third Motion to Compel is DENIED in all other respects.

                    Neither party is awarded fees or costs at this time. However, if Defendants

                    file a motion for sanctions against Plaintiff in the future, the Court will

                    examine whether Plaintiff is entitled to a setoff for any costs he incurred

                    with respect to the Third Motion to Compel.

       5.     Defendants may file a separate motion to compel the Plaintiff to consent to

Google disclosing emails between the Plaintiff and the Defendants’ attorneys.

       6.     The Plaintiff shall have until August 18, 2017, to file a Motion to Compel related

to the Defendants’ responses to the Plaintiff’s Request For Production of Documents 7. If the

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Plaintiff chooses to file such a Motion and if the Court finds that the Motion was not

substantially justified, then the Court shall award the Defendants their Attorney’s fees incurred

as a result of the Motion.

                                               ###

I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

Order Presented by:
MOTSCHENBACHER & BLATTNER, LLP
/s/ Troy G. Sexton
Troy G. Sexton, OSB #115184
Telephone: 503-417-0500
E-mail: tsexton@portlaw.com
Attorney for Defendants


                                     PARTIES TO SERVE

ECF-registered parties, and the following party requiring notice by US Mail:

Peter Szanto
PO Box 4614
Portland, OR 97208




                                                                         Motschenbacher & Blattner, LLP
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